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lN THE UNlTED STATES BANKRUPTCY C()URT
FOR THE DISTRICT OF DELAWARE

 

ln re: : Chapter l l
LESLIE CONTROLS, INC., 2 CaSe NO. 10-12199 (CSS)
Debtor_l Related pocket Nos. 172, 213 and 284

 

FINDINGS OF FACT, CONCLUSIONS OF LAW, AND ORDER CONF!RMING THE
FIRST AMENDED PLAN OF REORGANIZAT[ON OF LESLIE CONTROLS, INC.
UNDER CHAPTER ll OF THE BANKRUPTCY CODE

WHEREAS, On July 12, 2010 (the "Petition Date"), Leslie Controls, Inc. (the “Debtor”)
filed a voluntary petition for relief under Chapter 1 1 of title 1 1 of the United States Code (the
“Bankruptcy Code”); and

WHEREAS, on the Petition Date, the Debtor filed the Plan of Reorganization of Leslie
Controls, Inc. Under Chapter ll of the Bankruptcy Code [Docket No. 15] and Disclosure
Statement Pursuant to Section 1125 of the Bankruptcy Code with Respect to the Plan of
Reorganization of Leslie Controls, Inc. Under Chapter ll of the Bankruptcy Code [Docket No.
16]; and

WHEREAS, on July 21, 2010, the Debtor filed the Motion of the Debtor for an Order
Approving (I) the Disclosure Statement; (II) the Solicitation and Voting Procedures; (III)
Deadlines and Procedures to File Objections to the Plan; (IV) a Hean`ng Date to Consider
Conf`irmati`on of the Plan and (V) the Form and Manner of Notice of Contirmation Hearing (the

“Solicitation Procedures Motion”) [Docket No. 64]; and

 

l The last four digits of the Debtor’s federal tax identification number are 3780.

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WHEREAS, on August 1 l, 2010, the Debtor filed its schedules of assets and liabilities
and statements of financial affairs (the “Schedules and Statements”) [Docket Nos. 135 and 136];
and

WHEREAS, on August 12, 2010, the Debtor filed the First Amended Plan of
Reorganization of Leslie Controls, Inc. Under Chapter 11 of the Bankruptcy Code [Docket No.
141] and the First Amended Disclosure Statement Pursuant to Section 1125 of the Bankruptcy
Code with Respect to the First Amended Plan the Plan of Reorganization of Leslie Controls, lnc.
Under Chapter 11 of the Bankruptcy Code [Docket No. 142]; and

WHEREAS, on August 19, 2010, the Court entered an order approving the Solicitation
Procedures Motion (the “Solicitation Procedures Order”) [Docket No. 166] that, among other
things (i) approved the adequacy of the Disclosure Statement; (ii) approved the form, manner,
and substance of the notice of solicitation (the “Solicitation Notice”), attached as Exhibit 1 to the
Solicitation Procedures Order; (iii) approved the form and substance of the Attorney Solicitation
Package, the Individual Solicitation Package, the Master Ballot, and the Individual Ballot (all as
defined in the Solicitation Procedures Motion); (iv) approved the Voting and Solicitation
Procedures (as defined in the Solicitation Procedures Motion), including the Voting Record Date
of August 19, 2010 and Voting Deadline of September 27, 2010 at 5:00 p.m. (prevailing Eastern
time); (v) established October 12, 2010 at 1 1:00 a.m. (prevailing Eastern time) as the
Confirmation Hearing; (vi) established September 27, 2010 at 4:00 p.m. (prevailing Eastern
time) as the deadline (the “Objection Deadline”) to file and serve objections to the Plan; and (vii)
approved the form, manner, and substance of the notices of Confirmation Hearing (the
“Confirmation Hearing Notice” and “Publication Notice”), attached as Exhibits 5 and 6,

respectively, to the Solicitation Procedures Order; and

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WHEREAS, on August 20, 2010, the Debtor filed the First Amended Plan of
Reorganization of Leslie Controls, Inc. Under Chapter 11 of the Bankruptcy Code dated August
20, 2010 (as amended or modified, the “Plan”) [Docket No. 172]; and

WHEREAS, on August 20, 2010, the Debtor filed the First Amended Disclosure
Statement Pursuant to Section l 125 of the Bankruptcy Code with Respect to the First Amended
Plan the Plan of Reorganization of Leslie Controls, Inc. Under Chapter ll of the Bankruptcy
Code dated August 20, 2010 (as amended or modified, the “Disclosure Statement”) [Docket No.
173]; and

WHEREAS, on August 25, 2010, the Debtor published the Solicitation Notice in the
Wall Street Journal (National Edition) and USA Todav (National Edition); and

WHEREAS, on September 1, 2010, the Debtor published the Solicitation Notice in the
Mealey’s Litigation Report: Asbestos; and

WHEREAS, on September 8, 2010, the Debtor published the Solicitation Notice in the
Mealev’s Asbestos Bankruptcy Report; and

WHEREAS, on August 27, 2010, Debtor filed Notices of Filing of Affidavits of
Publication Regarding Notice of Solicitation of Plan [Docket Nos. 190 and 191], evidencing
publication of the Solicitation Notice in the Wall Street Joumal §National Edition) and LJ__S_A_
Today §§ational Edition 1, respectively; and

WHEREAS, on September 20, 2010, Debtor filed the Af`fidavit of Publication [Docket
No. 247], evidencing publication of the Solicitation Notice in the Mealey’s Litigation Rgport:
Asbestos and Mealey’s Asbestos Bankruptcy Report; and

WHEREAS, on August 24, 2010, the Debtor filed the Confirmation Hearing Notice

[Docket No. 176] and caused the Confirmation Hearing Notice to be served by first-class mail

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upon the Debtor’s creditor matrix, the equity interest holder of record, the Office of the United
States Trustee, counsel to ClRCOR, counsel to the Committee, counsel to the Future Claimants’
Representative, the United States Securities and Exchange Commission, the Intemal Revenue
Service, the Of`fice of the United States Attorney for the District of Delaware, the insurance
carriers providing asbestos insurance coverage to the Debtor and any party that filed an entry of
appearance; and

WHEREAS, the Debtor filed Af`fidavits of` Service Docket Nos. 192, 198, 245, 251, 302
and 334 evidencing service of the Confinnation Hearing Notice on creditors and other parties-in-
interest; and

WHEREAS, on September 2, 2010, the Debtor published the Publication Notice in the
Wall Street Journal (National Edition) and USA Todav (National Edition); and

WHEREAS, on September 8, 2010, the Debtor published the Publication Notice in the
Mealev’s Asbestos Bankruptcy Report; and

WHEREAS, on September 15, 2010, the Debtor published the Publication Notice in the
Mealev’s Litigation Report: Asbestos; and

WHEREAS, on September 10, 2010, the Debtor filed Notices of` Filing of Affidavit of
Publication Regarding Notice of (I) Hearing to Consider Confirmation of Plan and (II) Objection
Deadline and Procedures [Docket Nos. 207 and 208] evidencing publication of the Publication
Notice in the Wall Street Journal (National Edition) and USA Todav (National Edition),
respectively; and

WHEREAS, on September 21, 2010, Debtor filed the Affidavit of Publication [Docket
No. 248], evidencing publication of the Publication Notice in the Mealev’S Litigation Report:

Asbestos and Mealev’s Asbestos Bankruptcy Report; and

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WHEREAS, on or about August 26, 2010, the Debtor commenced solicitation of votes
(the “Solicitation”) on the Plan by causing its Claims and Balloting Agent to mail (i) the
Attorney Solicitation Package to each lead law firm of record for the holders of Class 4 Asbestos
Pl Claims listed on the Debtor’s Schedulcs and Statements or otherwise known to the Debtor by
the Voting Record Date on behalf of all the claimants represented by such lead law finn (each a
“Lead Law Firm”); and (ii) the Attorney Solicitation Package, without a Master Ballot, to each
law firm serving as co-counsel to the Lead Law Firm (each “Co-Counsel”) for the holders of
Class 4 Asbestos PI Claims listed on the Debtor’s Schedules and Statements or otherwise known
to the Debtor by the Voting Record Date on behalf of all the claimants represented by such Co-
Counsel; and

WHEREAS, on September 22, 2010, the Debtor filed the Affidavit of Service of
Solicitation Materials, sworn to on September 20, 2010 [Docket No. 251] (the “Affidavit of
Service”), evidencing service of the Attorney Solicitation Packages on the Lead Law Firms, Co-
Counsel and holders of Class 4 Asbestos Pl Claims Who did not authorize counsel to submit a
ballot on their behalf; and

WHEREAS, on September 13, 2010, the Debtor filed the Notice of Filing of
Nonmaterial Modifications to the Plan reflecting modifications to Section 9.3 (The Asbestos PI
Trust), Section 10.4 (Insurance Neutrality) and Section 13.2 (Retention of Jurisdiction) (the
“Plan Modifications”) [Docket No. 213]; and

WHEREAS, on September 17, 2010, the Debtor filed the Plan Supplement to First
Amended Plan of Reorganization of Leslie Controls, Inc. Under Chapter l 1 of the Bankruptcy

Code (the “Plan Supplement”) [Docket No. 23 8]; and

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WHEREAS, on October 8, 2010, the Debtor filed the Declaration of Stephenie I(jontvedt
on behalf of Epiq Bankruptcy Solutions, LLC, Regarding Voting and Tabulation of Ballots
Accepting and Rejected the First Amended Plan of Reorganization of Leslie Controls, lnc.,
Under Chapter 11 of the Bankruptcy Code (the “Voting Declaration”) [Docket No. 324]; and

WHEREAS, eleven (1 l) objections or informal objections to confirmation of the Plan
were filed or otherwise received by the Debtor (the “Objections”), including the Objections of
Winterthur Swiss Insurance Company and Yasuda Fire & Marine Insurance Company (U.K.),
Ltd. To Confirmation of the First Amended Plan of Reorganization [Docket No. 268], Century
Indemnity Company’s Objection to Confirmation of the First Amended Plan [Docket No. 270],
Objection of Fireman’s Fund Insurance Company to First Amended Plan of Reorganization
[Docket No. 271], Joinder of National Union Fire Insurance Company of Pittsburgh, PA to
Objection of Century Indemnity Company to the Debtor’s First Amended Joint Plan of
Reorganization [Docket No. 272], The Central National Insurance Company of Omaha’s Joinder
in Objections of Winterthur Swiss Insurance Company and Yasuda Fire & Marine Insurance
Company (U.K.), Ltd. and Century lndemnity Company to Confirmation of the Debtor’s First
Amended Plan of Reorganization [Docket No. 294], and the Joinder of New Jersey
Manufacturers Insurance Company to Objections to Confir'mation of the Debtor’s First Amended
Plan of Reorganization filed by Firernan’s Fund Insurance Company and Century lndemnity
Company [Docket No. 335] (together, the “Insurers’ Objections”); and

WHEREAS, on October 21, 2010, the Debtor filed the Response of Debtor to Objections
of Various Insurers to First Amended Plan of Reorganization of Leslie Controls, Inc. Under

Chapter 11 of the Bankruptcy Code (the “Response”) [Docket No. 348]; and

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WHEREAS, on September 30, 2010, the Debtor filed the Debtor’s Motion to Strike the
Objecting Insurers Objections to Confirmation of the Debtor’s First Amended Plan of
Reorganization (the “Motion to Strike") [Docket No. 284]; and

WHEREAS, on October 19, 2010, Century lndemnity Company, Fireman’s Fund
Insurance Company, Winterthur Swiss Insurance Company, Yasuda Fire & Marine Insurance
Company (U.K.) Ltd. and National Union Fire Insurance Company of Pittsburgh, PA filed the
Certain Insurers’ Opposition to Debtor’s Motion to Strike Insurers’ Objections on Grounds of
Purported Lack of Standing (the “Opposition to the Motion to Strike”) [Docket No. 343]; and

WHEREAS, on October 21, 2010, the Debtor filed the Debtor’s Reply to Certain
Insurers’ Opposition to Debtor’s Motion to Strike the Objecting lnsurers Objections to
Confirmation of the Debtor’s First Amended Plan of Reorganization (the “Reply”) [Docket No.
356]; and

WHEREAS, on October 15, 2010, the Debtor, the Committee and the Future Claimants’
Representative filed a Motion in Limine to Exclude the Expert Testimony of Charles H. Mullin
(the “Mullin Motion in Limine”) [Docket No. 337]; and

WHEREAS, on October 15, 2010, the Debtor, the Committee and the Future Claimants’
Representative filed a Motion in Limine to Exclude the Expert Testimony of George L. Priest
(the “Preist Motion in Limine” and, together with the Mullin Motion in Limine, the “Motions in
Limine”) [Docket No. 338]; and

WHEREAS, on October 25, 2010, certain lnsurers filed a Response in Opposition to Plan
Proponents’ Motions to Exclude the Expert Testimony of George L. Priest and Charles H. Mullin

(the “Insurers’ Response to the Motions in Limine”) [Docket No. 358]; and

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WHEREAS, on October 22, 2010, the Debtor filed the Debtor’s Memorandum of Law in
Support of an Order Confirming the First Amended Plan of Reorganization of Leslie Controls,
lnc. Under Chapter 11 of the Bankruptcy Code (the "Memorandum of Law") [Docket No. 349];
and

WHEREAS, the Confirrnation Hearing was originally scheduled for October 12, 2010 at
11:00 a.m., was adjourned by announcement in open court to 0ctober 26, 2010 at 11:00 a.m. and
then rescheduled by the Court for October 26, 2010 at 1;00 p.m.; and

WHEREAS, the Confirmation Hearing was held on October 26-27, 2010; and

NOW, THEREFORE, based upon the Court's review of the Disclosure Statement, the
Plan, the Attorney Solicitation Package, the Voting Declaration, the Solicitation Notice, the
Confirmation Hearing Notice, the Publication Notice, the Schedules and Statements, the Plan
Supplement, the Response, the Plan Modifications, the Memorandum of Law, and upon (i) all of
the evidence proffered or adduced at, memoranda filed in connection with (other than the
Insurers’ Objections, which the Court did not consider because it found that the Insurers lack
standing), and arguments of counsel made at, the Confirmation Hearing and (ii) the entire record
of this Chapter 1 l Case; and after due deliberation thereon; and good and sufficient cause
appearing therefore, it is hereby found and determined that:

FINDINGS OF FACT AND CONCLUSIONS OF LAW

The findings and conclusions set forth herein constitute the Bankruptcy Court’s findings

of fact and conclusions of law pursuant to Fed. R. Bankr. P. 7052, made applicable to this

proceeding pursuant to Fed. R. Bankr. P. 9014. 2 To the extent any of the following findings of

 

Pursuant to Bankruptcy Rule 7052, findings of fact shall be construed as conclusions of law and
conclusions of law shall be construed as findings of fact when appropriate

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fact constitute conclusions of law, they are adopted as such. To the extent any of the following
conclusions of law constitute findings of fact, they are adopted as such.
A. Jurisdiction; Venue; Core Proceeding (28 U.S.C. §§ 157(b)(2) and l334(a))

This Court has jurisdiction over the Debtor’s Chapter 11 Case pursuant to sections 157
and 1334 of title 28 of the United States Code, Confirmation of the Plan is a core proceeding
pursuant to 28 U.S.C. § 157(b)(2)(L), and, subject to the requirement of 11 U.S.C. §
524(g)(3)(A), this Court has exclusive jurisdiction to determine whether the Plan complies with
the applicable provisions of the Bankruptcy Code and should be confirmed Venue is proper
under sections 1408 and 1409 of title 28 of the United States Code, Leslie is a proper debtor
under section 109 of the Bankruptcy Code and proper proponent of the Plan under section
1121(a) of the Bankruptcy Code,

B. Commencement, Appointment of Committee and Future Claimants’
Representative

On the Commencement Date, the Debtor filed a voluntary petition for relief under
chapter ll of the Bankruptcy Code (the “Chapter ll Case”). The Debtor is continuing to operate
its business and manage its properties as a debtor in possession pursuant to sections 1107(a) and
1108 of the Bankruptcy Code.

On July 22, 2010, the Office of the United States Trustee appointed, pursuant to section
1 102 of the Bankruptcy Code, an Official Commitee of Unsecured Creditors (the "Committee")
consisting of the following nine members: Charley Louis Brown (c/o Brayton Purcell, LLP);
Rosario Gallo (c/o Belluck & Fox, LLP); Paul McKenzie (c/o Bergman Draper & Frockt); Patsy
Chaffee, Special Administrator of Robert Chafee (c/o Cooney & Conway); Terri L. Wells,
Executrix to the Estate of Murray Wells (c/o Early Ludwick Sweeney & Strauss); Beverly

Lindenmayer (c/o Kazan, McLain, Lyons, Greenwood & Harley, PLC); John Wheeler Estep, Jr.

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(c/o Motley Rice LLC); Mary A. Mayo (c/o Waters & Kraus, LLP); and Paul B. Stack (c/o Weitz
& Luxenberg, P.C.)

On August 9, 2010, the Court appointed James L. Patton, Jr., pursuant to sections 105(a)
and 524(g)(4)(b)(i) of the Bankruptcy Code, as the legal representative for future asbestos
personal injury claimants (the “Future Claimants’ Representative”). No trustee or examiner has
been appointed

C. Judicial Notice

This Court takes judicial notice of the docket of the Chapter l 1 Case maintained by the
Clerk of the Bankruptcy Court and/or its duly-appointed agent, including, without limitation, all
pleadings and other documents filed, all orders entered, and evidence and argument made,
proffered, or adduced at the hearings held before the Bankruptcy Court during the pendency of
the Chapter 11 Case, including, but not limited to, the Confirmation Hearing.

D. Burden of Proof

The Debtor has the burden of proving the elements of sections 1 129(a) and (b) of the
Bankruptcy Code by a preponderance of evidence.

E. Notice of Confirmation Hearing

The Confirmation Hearing Notice was served and the Publication Notice was published
in compliance with the Solicitation Procedures Order, and such service and publication were
adequate and sufficient Adequate and sufficient notice of the Conf`irmation Hearing Notice and
the other deadlines established in the Solicitation Procedures Order was given in compliance
with the Bankruptcy Rules and the Solicitation Procedures Order, and no other or further notice

is or shall be required.

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F. lmpaired Class That Has Voted To Accept The Plan

As set forth in the Plan, holders of Class 4 Asbestos Pl Claims are impaired and entitled
to vote; and, as set forth in the Voting Declaration, holders of Class 4 Asbestos PI Claims voted
in excess of the statutory thresholds in sections 1126(c) and 524(g) of the Bankruptcy Code.
Thus, at least one impaired Class of Claims has voted to accept the Plan, Votes to accept and
reject the Plan have been solicited and tabulated fairly, in good faith, and in a manner consistent
with the Bankruptcy Code and the Bankruptcy Rules.

G. Classes Conclusively Presumed to Have Accepted the Plan

Class l (Other Priority Claims), Class 2 (Secured Claims), Class 3 (General Unsecured
Claims), Class 5 (lntercompany Claims) and Class 6 (Equity Interests in Leslie) are unimpaired
under the Plan, and pursuant to section 1 126(f) of the Bankruptcy Code, are conclusively
presumed to have accepted the Plan.

H. Plan Compliance with Bankruptcy Code (ll U.S.C. § 1129(a)(l))

The Plan complies with the applicable provisions of the Bankruptcy Code, thereby
satisfying section 1129(a)(1) of the Bankruptcy Code,
l. Plan Compliance with Bankruptcy Code (ll U.S.C. §§ 1122 and 1123)

1. Proper Classification (11 U.S.C. §§ 1122. 1123(3)1111.

In addition to the Allowed Administrative Expense Claims, Priority Tax Claims and the
DIP Claim listed in Section 2 of the Plan, which need not be designated, the Plan designates six
(6) Classes of Claims and Equity Interests. The Claims and Equity Interests placed in each Class
are substantially similar to other Claims and Equity [nterests, as the case may be, in each such
Class. Valid business, factual, and legal reasons exist for separately classifying the various

Classes of Claims and Equity Interests created under the Plan, and such Classes do not unfairly

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discriminate between holders of Claims and Equity Interests. Thus, the requirements of sections
1122 and l 123(a)(1) of the Bankruptcy Code are satisfied

2. Specify Unimpaired Classes (1 l U.S.C. § 1123(a)(2)).

Article IV of the Plan specifies that Class 1 (Other Priority Claims), Class 2 (Secured
Claims), Class 3 (General Unsecured Claims, Class 5 (lntercompany Claims) and Class 6
(Equity Interests in Leslie) are unimpaired under the Plan, Thus, the requirements of section
l 123(a)(2) of the Bankruptcy Code are satisfied

3. Specified Treatment of lmpaired Classes (l l U.S.C. § 1 123(a)(3)).

Article lV of the Plan designates Class 4 (Asbestos PI Claims) as impaired and specifies
the treatment of Claims in those Classes. Thus, the requirements of section 1123(a)(3) of the
Bankruptcy Code are satisfied

4. No Discrimination (ll U.S.C. § 1123(a)(4)).

The Plan provides for the same treatment by the Debtor for each Claim or Interest in each
respective Class unless the holder of a particular Claim or Equity Interest has agreed to a less
favorable treatment of such Claim or Equity Interest. Thus, the requirements of section
1 123(a)(4) of the Bankruptcy Code are satisfied

5. Implementation ofPlan (ll U.S.C. § 1123(a)(5)).

The Plan provides adequate and proper means for the Plan’s implementation, including,
among other things, (i) the creation of the Asbestos Pl Trust; and (ii) the transfer to and vesting
in the Asbestos PI Trust of the Asbestos PI Trust Assets, as more fully described in Article 9.3 of
the Plan. Leslie and Reorganized Leslie are authorized to implement the Plan in accordance with
its terms and as detailed herein. Thus, the requirements of section 1123(a)(5) of the Bankruptcy
Code are satisfied

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6. Non-Voting Equity Securities (ll U.S.C. § 1123(a)(6)).

As provided in Section 9.4 of the Plan, the Amended Certificate of Incorporation and
Amended By»Laws prohibit the issuance of nonvoting equity securities Thus, the requirements
of section 1123(a)(6) of the Bankruptcy Code are satisfied

7. Selection of Asbestos PI Trustee, Members of the Asbestos PI Trust
Advisorv Committee and Officers/Directors of Reorganized Leslie ( 11

U.S.C. § 11231a)§7!).

Section 9.3 of Plan and the Plan Supplement contain provisions with respect to the
manner of selection of the Asbestos Pl Trustee and the Future Claimants’ Representative The
initial members of the Asbestos PI Trust Advisory Committee shall be Alan Brayton, John
Cooney, John A. Baden, IV, Peter A. Kraus and Steven Kazan. Section 9.6 of Plan and the Plan
Supplement identifies the members of the Board of Directors and officers of Reorganized Leslie.
Thus, the requirements of section 1123(a)(7) of the Bankruptcy Code are satisfied

8. Additional Plan Provisions (11 U.S,C. § 1123(b)).

The Plan’s provisions are appropriate and not inconsistent with the applicable provisions
of the Bankruptcy Code.

J. Compliance with Bankruptcy Rule 3016(a)

The Plan is dated and identifies the Debtor as submitting it, thereby satisfying
Bankruptcy Rule 3016(a).

K. Compliance With Bankruptcy Rule 3017

The Debtor has given notice of the Confirmation Hearing as required by Bankruptcy Rule

3017(<1).

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L. Compliance With Bankruptcy Rule 3018

The solicitation of votes to accept or reject the Plan satisfies Bankruptcy Rule 3018. The
Plan was transmitted to all creditors entitled to vote on the Plan, sufficient time was prescribed
for such creditors to accept or reject the Plan, and the Attorney Solicitation Packages and
Solicitation Procedures comply with section 1126 of the Bankruptcy Code, thereby satisfying the
requirements of Bankmptcy Rule 3018.

M. Plan Compliance with Bankruptcy Code (ll U.S.C. § 1129)
l. Debtor’s Comnliance with Bankruptcy Code (11 U.S.C. § 1 129(a)(2)).

The Debtor has complied with the applicable provisions of the Bankruptcy Code, thereby

satisfying section 1129(a)(2) of the Bankruptcy Code. Specifically:

(i) The Debtor is a proper debtor under section 109 of the Bankruptcy Code.

(ii) The Debtor has complied with applicable provisions of the Bankruptcy
Code, except as otherwise provided or permitted by orders of the Bankruptcy Court.

(iii) The Debtor has complied with the applicable provisions of the Bankruptcy
Code and the Bankruptcy Rules in transmitting the Plan, the Disclosure Statement, and the
Ballots, as the ease may be, and related documents in soliciting and tabulating votes on the Plan.

2. Plan Proposed in Good Faith (ll U.S.C. § 1129(a)(3)).

The Debtor has proposed the Plan in good faith and not by any means forbidden by law,
and this Confirmation Order was not procured by fraud, thereby satisfying section 1 129(a)(3) of
the Bankruptcy Code, The Debtor’s good faith is evident from the facts and record of this
Chapter 1 l Case, and the record of the Confirmation Hearing and other proceedings held in this

Chapter l l Case, The Plan was proposed with the legitimate and honest purpose of maximizing

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the value of the Debtor’s estate and resolving the Debtor’s asbestos-related liabilities and to
effectuate a successful reorganization of 'Ihe Debtor,

3. Pavments for Services or Costs and Expenses ( 11 U.S.C. § 1129(a)(4)).

Any payment made or to be made by the Debtor for services or for costs and expenses in
or in connection with the Chapter 11 Case, or in connection with the Plan and incident to the
Chapter l 1 Case, has been approved by, or is subject to the approval of, the Bankruptcy Court as
reasonable, thereby satisfying section 1129(a)(4) of the Bankruptcy Code.

4. Directors, Officers. and Insiders (11 U.S.C. § 1129(a)(5)).

The Plan complies with section 1129(a)(5) of the Bankruptcy Code. Section 9.6 of Plan
and the Plan Supplement identifies the members of the Board of Directors and officers of
Reorganized Leslie, and the appointment to, or continuance in, such offices of such person is
consistent with the interests of holders of Claims against and Equity interests in the Debtor and
with public policy. The identity of any insider that will be employed or retained by Reorganized
Leslie and the nature of such insider’s compensation have also been fully disclosed, to the extent
applicable

5. No Rate Changes fll U.S.C. § 1129(a)(6l).

Section 1129(a)(6) of the Bankruptcy Code is satisfied because the Plan does not provide
for any change in rates over which a governmental regulatory commission has jurisdiction.

6. Best Interests of Creditors ( 11 U.S.C. § 1129(a)(7)).

The Plan satisfies section 1129(a)(7) of the Bankruptcy Code. The liquidation analysis
attached as Appendix D to the Disclosure Statement, the Chapter 1 l Recovery Analysis attached
as Appendix E to the Disclosure Statement and other evidence proffered or adduced at the

Confirmation Hearing (a) are persuasive and credible, (b) have not been controverted by other

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evidence, and (c) establish that each holder of an impaired Claim or Equity Interest either has
accepted the Plan or will receive or retain under the Plan, on account of such Claim or Equity
Interest, property of a value, as of the Effective Date, that is not less than the amount that such
holder would receive or retain if the Debtor were liquidated under chapter 7 of the Bankruptcy
Code on such date.

7. Acceptance of Certain Classes (11 U.S.C. § 1129(a)(8)).

Class l (Other Priority Claims), Class 2 (Secured Claims), Class 3 (General Unsecured
Claims), Class 5 (lntercompany Claims) and Class 6 (Equity Interests in Leslie) are Classes of
Unimpaired Claims that are conclusively presumed to have accepted the Plan under section
1126(f) of the Bankruptcy Code, As set forth in the Voting Declaration, Class 4 (Asbestos PI

Claims) have voted to accept the Plan in accordance with sections 1126(c) and 524(g) of the

 

Bankruptcy Code.
8. Treatment of Administrative. Priority Tax and Priority Claims ( ll U.S.C.
§ 1129131(911.

The treatment of Administrative Expense Claims, the DIP Claim and Priority Claims
pursuant to Sections 2.1, 2.3 and 4.1 of the Plan satisfies the requirements of sections
l 129(a)(9)(A) and (B) of the Bankruptcy Code. The treatment of Priority Tax Claims pursuant
to Section 2.2 of the Plan satisfies the requirements of section 1129(a)(9)(C) of the Bankruptcy
Code.

9. Acceptance by Impaired Classes (1 l U.S.C. § 1129(a)(10)).

Class 4 (Asbestos PI Claims) is an Impaired Class of Claims that has voted to accept the
Plan in accordance with sections 1 126(0) and 524(g) of the Bankruptcy Code and, to the

Debtor’s knowledge, does not contain insiders whose votes have been counted Therefore, the

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requirement of section 1 129(a)(10) of the Bankruptcy Code that at least one Class of Claims
against or Interests in the Debtor that is impaired under the Plan has accepted the Plan,

10. Feasibilitv(ll U.S.C. § 1129(a)(11)).

The Plan, the Plan Supplement and the Plan Modifications, all evidence proffered or
adduced at the Confirmation Hearing (a) are persuasive and credible, (b) have not been
controverted by other evidence, (c) do not provide for the liquidation of all or substantially all of
the property of the Debtor, (d) establish that Reorganized Leslie will continue in business as an
ongoing reorganized debtor, and (e) establish that confirmation of the Plan is not likely to be
followed by the liquidation or the need for further financial reorganization of Reorganized
Leslie, thus satisfying the requirements of section l l29(a)(l 1) of the Bankruptcy Code.

11. Pavment ofFees (11 U.S.C. § 1129(a)(12)).

All fees payable under section 1930 of title 28, United States Code, as determined by the
Bankruptcy Court on the Confirmation Date, have been paid or will be paid, on and after the
Effective Date, and thereafter as may be required until entry of a final decree with respect to the
Debtor, thus satisfying the requirements of section 1 129(a)(12) of the Bankruptcy Code.

12. Retiree Benefits (11 U.S.C. § 1129(a)(l3)).

Section 7.5 of Plan provides for the continuation of payment by the Debtor of all “retiree
benefits," as defined in section l 1 14(a) of the Bankruptcy Code, if any, at previously established
levels, thus satisfying the requirements of section 1129(a)(13) of the Bankruptcy Code.

13. Domestic Support 0bligations (ll U.S.C. § 1129(a)(14))

The Debtor is not required to pay any domestic support obligations Accordingly, section

1 129(a)(14) of the Bankruptcy Code is not applicable to the Plan,

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14. Individual Cases Subiect to Obiection by Unsecured Creditor ( ll U.S.C. §
l 1291an 1511

The Debtor is not an individual. Accordingly, section l 129(a)(15) of the Bankruptcy
Code is not applicable to the Plan,

15. Transfers of Prooerty Pursuant to Non-Bankruptcv Law (11 U.S.C. §

1129(a111611

All transfers of property of the Plan shall be made in accordance with any applicable
provisions of nonbankruptcy law that govern the transfer of property by a corporation or trust
that is not a moneyed, business, or commercial corporation or trust. The Plan therefore complies
with section 1129(a)(16) of the Bankruptcy Code,

16. Fair and Equitable; No Unfair Discrimination (11 U.S.C. § 1129(b)).

Based upon the evidence proffered, adduced, or presented by the Debtor in the Plan and
the Disclosure Statement and at the Confirmation Hearing, the Plan does not discriminate
unfairly and is fair and equitable as required by section 1129(b)(1) of the Bankruptcy Code, and
there are no Classes of Claims that have voted to reject the Plan. The Plan does not discriminate
unfairly with respect to any holders of Claims or Equity Interests. The legal rights of holders of
Claims or Equity Interests are treated consistently with the treatment of other classes whose legal
rights are substantially similar, and such holders of Claims or Equity Interest holders do not
receive more from the Debtor than they legally are entitled to receive for their Claims or Equity
Interests. Thus, the Plan may be confirmed

17. Principal Purpose ofthe Plan (1 l U.S.C. § 1129(d)),

The principal purpose of the Plan is neither the avoidance of taxes nor the avoidance of

section 5 of the Securities Act, and no governmental unit has objected to the confirmation of the

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Plan on any such grounds The Plan therefore satisfies the requirements of section 1 129(d) of
the Bankruptcy Code.

N. Modifications to the Plan

The Plan Modifications constitute technical changes that do not materially adversely
affect or change the treatment of any Claims or Equity Interests and shall be considered part of
the Plan. Accordingly, pursuant to Bankruptcy Rule 3019, these modifications do not require
additional disclosure under section 1125 of the Bankruptcy Code or re-solicitation of votes under
section l 126 of the Bankruptcy Code, nor do they require that holders of Asbestos Pl Claims be
afforded an opportunity to change previous acceptances or rejections of the Plan.

O. Flan Supplement

The Plan Supplement includes the following documents and/or information: (i) a
schedule of rejected executory contracts, (ii) the certificate of amendment to certificate of
incorporation, (iii) the identification of the Asbestos PI Trustee, (iv) the Asbestos Records
Cooperation Agreement, (v) the officers and directors of Reorganized Leslie, and (vi) disclosure
of the identity of insiders to be employed or retained by Reorganized Leslie and the nature of
compensation. All such materials comply with the terms of the Plan.

P. Good Faith Solicitation (11 U.S.C. § 1125(e))

Based on the record before the Bankruptcy Court in this Chapter l l Case, the Debtor and
the Released Parties, and in each case their current or former officers, directors, employees,
agents, attorneys, accountants, financial advisors, other representatives, subsidiaries, affiliates, or
any person who controls any of` these within the meaning of the Securities Act of 1933, as
amended, or the Securities Exchange Act of 1934, as amended have acted in “good faith” within
the meaning of section l 125(e) of the Bankruptcy Code in compliance with the applicable

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provisions of the Bankruptcy Code and Bankruptcy Rules in connection with all their respective
activities relating to the solicitation of acceptances to the Plan and their participation in the
activities described in section 1125 of the Bankruptcy Code, and are entitled to the protections
afforded by section 1 125(e) of the Bankruptcy Code and the exculpation provisions set forth in
Section 11.3 ofthe Flan.
Q. Assumption and Rejection

The Plan’s treatment of the assumption and rejection of Executory Contracts and
Unexpired Leases in Section 7 of the Plan comports with the requirements of section 365(b) of
the Bankruptcy Code,

R. Cure of Defaurcs (11 U.s.C. § 1123(d))

Section 7.2 of the Plan and as modified herein governs the Cure associated with each
executory contract and unexpired lease to be assumed pursuant to the Plan in accordance with
section 365(b)(1) of the Bankruptcy Code. The Cure will be determined in accordance with the
underlying agreements and applicable bankruptcy and non-bankruptcy law. Thus, the Plan
satisfies the requirements of section 1123(d) of the Bankruptcy Code.

S. Satisfaction of Confirmation Requirements

The Plan satisfies all applicable requirements for confirmation set forth in section 1129 of
the Bankruptcy Code,

T. Retention of Jurisdiction

The Bankruptcy Court may properly retain jurisdiction over the matters set forth in

Section 13.1 of the Plan and section 1142 of the Bankruptcy Code.

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U. Plan Compliance with Requirements of Section 524(g)

As of the Commencement Date, the Debtor, CIRCOR, and/or Watts have been named as
defendants in approximately 1,340 asbestos-related personal injury suits, seeking recovery for
damages allegedly caused by the presence of, or exposure to, asbestos or asbestos-containing
products. The Asbestos PI Channeling lnjunction set forth in the Plan that is to be implemented
with the Asbestos PI Trust complies with the requirements of Section 524(g) of the Bankruptcy
Code as follows:

1. District Court Approval (11 U.S.C. § 524(gl§3!tAL).

The Court, having considered both the confirmation of the Plan and the issuance of the
Asbestos Pl Channeling Injunction at the Confirmation Hearing held before the Bankruptcy
Court on October 26-27, 2010, finds and determines that the Asbestos PI Channeling Injunction
and the Asbestos Pl Trust to be established by virtue of this Confirmation Order are consistent
with the provisions of section 524(g)(1)(A). The Asbestos PI Channeling Injunction also must
be affirmed by the United States District Court for the District of Delaware (the “District Court”)
as mandated by Section 524(g)(3)(A) as a condition precedent to the Effective Date of the Plan.

2. Assumntion of Liabilities ( 11 U.S.C. § 524(,9.112)(B)(il(111.

The Debtor has been named as a defendant in asbestos-related personal injury suits
seeking recovery for damages allegedly caused by the presence of, or exposure to, asbestos or
asbestos-containing products In compliance with section 524(g)(2)(B)(i)(I) of the Bankruptcy
Code and pursuant to Section 4.4 of the Plan, as of the Effective Date, liability for all Asbestos
PI Claims shall automatically and -without further act, deed or court order be channeled to and ,
assumed by the Asbestos PI Trust in accordance with, and to the extent set forth in, Articles IX
and XI of the Plan and the applicable Plan Documents. Each Asbestos PI Claim shall be

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determined and paid in accordance with the terrns, provisions and procedures of the Asbestos PI
Trust Agreement and the Asbestos PI Trust Distribution Procedures.

3. Funding ofthe Asbestos Pl Trust (11 U.S.C. § 524(g)(2)(B)(i)(ll)).

The Asbestos PI Trust shall be funded by the CIRCOR Asbestos PI Trust Contribution
and Leslie Contribution in accordance with the provisions of Scction 9.3 of the Plan. Therefore,
the Plan satisfies section 524(g)(2)(B)(i)(11) of the Bankruptcy Code,

4. Transfer of Membership Interests f 1 1 U.S.C. § 524(g)(2XB)(i)(Ill)).

Pursuant to Section 9.3 of the Plan, Reorganized Leslie shall execute and deliver to the
Asbestos Pl Trust, the Leslie Promissory Note. As security for the Promissory Note, on the
Effective Date, CIRCOR shall execute and deliver to the Asbestos PI Trust the CIRCOR Pledge
whereby CIRCOR shall grant a security interest in 100% of the outstanding voting equity
interests of Reorganized Leslie to the Asbestos Pl Trust as security for the Leslie Promissory
Note, Thus, the Plan satisfies section 524(g)(2)(B)(i)(III) of the Bankruptcy Code,

5. Use ofTrust Assets (11 U.S.C. § 524(g)(2)(B)(il(lV)).

The Asbestos Pl Trust will use its assets and income to satisfy Allowed Asbestos PI
Claims and Demands. Thus, the Plan Satisfies section 524(g)(2)(B)(i)(IV) of the Bankruptcy
Code,

6. Likelihood of Future Demands f 1 1 U.S.C. § 524(2)1211 B)(iilf Ill.

ln the absence of the Plan, the Debtor would be likely to be subject to substantial future
Demands for payment arising out of the same or similar conduct or events that gave rise to the
existing Asbestos PI Claims which are addressed by the Asbestos PI Channeling Injunction.

Thus, the Plan satisfies section 524(g)(2)(B)(ii)(I) of the Bankruptcy Code.

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7. Indeterminate Nature of Future Demands (11 U.S.C.

§ 5241gj§2}jB[§iij(Il!).

The actual amounts, numbers and timing of Demands cannot be determined Therefore,
the Plan satisfies section 524(g)(2)(B)(ii)(II) of the Bankruptcy Code,

8. Threat of Future Demands Pursued Outside the Plan (11 U.S.C,
§ 524§g)(2)(B)(ii)§ IIIH.

Pursuit of Demands outside the procedures prescribed by the Plan is likely to threaten the
Plan’s purpose to deal equitably with Asbestos PI Claims and Demands. Thus, the Plan satisfies

section 524(g)(2)(B)(ii)(lII) of the Bankruptcy Code.

9. Description of Asbestos PI Channeling Injunction in Plan and Disclosure
Statement (ll U.S.C. § 524(g)(2)(Bl(iil(IVl(aa)).

The terms of the Asbestos PI Channeling Injunction, including provisions barring actions
against third parties, are set forth in the Plan and described in the Disclosure Statement. Thus,
the Plan satisfies section 524(g)(2)(B)(ii)(lV)(aa) of the Bankruptcy Code.

10. Accentance of Plan bv Class Addressed by Asbestos Pl Trust (11 U.S.C.
§ 524§g[§2!§B}§ii jt IVL(bb)j.

The Plan separately classifies asbestos-related personal injury claims into Class 4
(Asbestos Pl Claims), and pursuant to Section 5.3 of the Plan, and evidenced by the Vote
Declaration, at least two-thirds (2/3) in amount and seventy-five percent (75%) in number of the
members of such Class actually voting on the Plan have voted to accept the Plan. Specifically,
the Plan has received acceptances from 571 in number and between $9.1 million and $40 million
in amount of creditors holding Asbestos Pl Claims who voted3 Thus, the Plan satisfies section

524(g)(2)(B)(ii)(lV)(bb) of the Bankruptcy Code.

 

3 See Exhibir A-r cfche voting Decraration.

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11. Operation of the Asbestos PI Trust (1 1 U.S.C. § 524(g)(2)(B)(ii)(V)).

Pursuant to (a) the Asbestos Pl Trust Distribution Procedures; (b) court order; or (c)
otherwise, the Asbestos Pl Trust will operate through mechanisms such as structured, periodic,
or supplemental payments, pro rata distributions, matrices, or periodic review of estimates of the
numbers and values of Asbestos Pl Claims and Demands or other comparable mechanisms that
provide reasonable assurance that the Asbestos PI Trust will value, and be in a financial position
to pay, similar Asbestos PI Claims and Demands in substantially the same manner, Therefore,
the Plan complies with section 524(g)(2)(B)(ii)(V) of the Bankruptcy Code.

12. ldentity of Protected Third-Party ( l 1 U.S.C. § 524( 211 4)(A)Qi)).

The Asbestos PI Channeling Injunction bars actions against the Asbestos Protected
Parties, which parties are clearly defined and identified in the Plan and in the Asbestos PI
Channeling Injunction. Thus, the Plan complies with section 524(g)(4)(A)(ii) of the Bankruptcy

Code.

13. App_ointment of the Future Claimants’ Representative 111 U.S.C.
524 4 B i .

James L. Patton, Jr. was appointed by the Bankruptcy Court as the Future Claimants’
Representative for the purpose of, among other things, protecting the rights of persons that might
subsequently assert Demands of the kind that are addressed in the Asbestos Pl Channeling
Injunction and transferred to the Asbestos PI Trust. J ames L. Patton, Jr. was requested to serve
in that capacity in January 2010 and did so in connection with the negotiation, preparation and
solicitation of acceptances of the Plan prior to the Commencement Date. Therefore, the Plan

satisfies section 524(g)(4)(B)(i).

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14. Asbestos PI Channeling Iniunction is Fair and Equitable ( 11 U.S.C.

§524(g)t4)gB)(ii)).

In light of the benefits provided, or to be provided, to the Asbestos Pl Trust and/or
Reorganized Leslie by or on behalf of each current and future Asbestos Protected Party, the
Asbestos PI Channeling lnjunction is fair and equitable to all creditors and Future Demand
Holders. Thus, the Plan complies with section 524(g)(4)(B)(ii) of the Bankruptcy Code.

The Plan and its acceptance otherwise comply with sections 524(g) and l 126 of the
Bankruptcy Code, and confirmation of the Plan is in the best interest of all creditors.

V. Asbestos PI Trust Contributions

The Asbestos PI Trust Contributions, which consist of the Leslie Contribution and
CIRCOR Asbestos PI Trust Contribution, constitute substantial assets of the Plan and the
reorganization, are essential and necessary to the feasibility of the Plan and the successful
reorganization of the Debtor, and constitute a sufficient basis upon which to provide the
ClRCOR Related Parties and Watts Related Parties with the protections afforded to them under
the Plan, Plan Documents and this Confirmation Order.

W. The Plan is Insurance Neutral

The Plan is insurance neutral, as provided in Section 10.4 of the Plan (as modified in
paragraph 26 below).

DECREES
NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

THAT:
1. Objections. The Insurers’ Objections are stricken and have not been considered

by the Court for the reasons set forth on the record on October 26, 2010, All other Objections to

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the Plan that have not been withdrawn or waived and all reservations of rights pertaining to

confirmation of the Plan included therein, are overruled on the merits.

PLAN
2. Confirmation. The Plan, as amended and supplemented by the Plan Supplement,

is confirmed under section l 129 of the Bankruptcy Code.

3. Amendments. Any amendments of the Plan contained herein, in the Plan
Modifications or as reflected on the record at the Confirmation Hearing meet the requirements
of sections 1127(a) and (c), such amendments do not adversely change the treatment of the
Claim of` any creditor or Equity Interest of any equity security holder within the meaning of
Bankruptcy Rule 3019, and no further solicitation or voting is required

4. Plan Classification Controlling. The classifications of Claims and Equity
Interests for purposes of the distributions to be made under the Plan shall be governed solely by
the terms of the Plan. The classifications set forth on the Ballots tendered to or returned by the
Debtor’s creditors in connection with voting on the Plan (a) were set forth on the Ballots solely
for purposes of voting to accept or reject the Plan, (b) do not necessarily represent, and in no
event shall be deemed to modify, or otherwise affect, the actual classification of such Claims
and Equity Interests under the Plan for distribution purposes, and (c) shall not be binding on the
Debtor, Reorganized Leslie, the Asbestos PI Trust, or any Asbestos Insurance Entity.

5. Definition of Debtor Released Parties. The definition of “Debtor Released
Parties” as set forth in Section 1.62 of the Plan is modified to read as follows: “Debtor
Released Parties means, collectively, the Debtor, Reorganized Leslie, the officers, directors and
employees of the Debtor who were either serving in such capacities as of the Confirmation Date,

or who had served in such capacities during the Chapter 11 Case, the officers, directors and

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employees of Reorganized Leslie serving in such capacity after the Effective Date and the
Debtor’s and Reorganized Leslie's former officers and directors, principals, employees, agents,
financial advisors, attomeys, investment bankers, accountants, consultants and other
professionals, agents and any of their Successors and assigns.”

6. Definition of Asbestos Claimants Committee. The definition of “Asbestos
Claimants Committee” as set forth in Section 1.10 of the Plan is modified to read as follows:
“Committee means the official committee of unsecured creditors appointed in the Chapter l 1
Case, as such committee may be reconstituted from time to time.” All references in the Plan to
the “Asbestos Claimants Committee” shall be deemed replaced with the term “Committee”.

7. Schedule 3 to the Plan. Schedule 3 to the Plan shall include the following
entities: BLUCHER Metal A/S, a Denmark corporation; Kim Olofsson Safe Corporation AB, a
Sweden corporation; Watts France Holding S.A.S., a France corporation; and Watts Valve
(Taizhou) Co., Ltd., a China limited liability company.

8. Binding Effect. The Plan and its provisions shall be binding upon the Debtor,
Reorganized Leslie, the Committee, the Future Claimants’ Representative, any Entity acquiring
or receiving property or a distribution under the Plan, and any holder of a Claim against or
Equity Interest in the Debtor, including all governmental entities (including without limitation
all taxing authorities), whether or not the Claim or Equity Interest of such holder is impaired
under the Plan, whether or not the Claim or Equity Interest is Allowed, and whether or not such
holder or entity has accepted the Plan.

The rights, benefits and obligations of any Entity named or referred to in the Plan, or
whose actions may be required to effectuate the terms of the Plan, shall be binding on, and shall

inure to the benefit of, any heir, executor, administrator, successor or assign of such Entity

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(including, but not limited to, any trustee appointed for the Debtor under Chapters 7 or 11 of the
Bankruptcy Code). The terms and provisions of the Plan and this Confirmation Order shall
survive and remain effective after entry of any order which may be entered converting the
Chapter 11 Case to a case under Chapter 7 of the Bankruptcy Code, and the terms and provisions
of the Plan shall continue to be effective in this or any superseding case under the Bankruptcy
Code. This Confirmation Order shall supersede any Bankruptcy Court orders issued prior to the
Confirmation Date that may be inconsistent with the Confirmation Order.

9. Vesting of Assets (11 U.S.C. § ll4l(b) and (c)). Except as otherwise provided in
the Plan, Reorganized Leslie will exist after the Effective Date as a separate Entity, with all the
powers of a corporation under applicable law and without prejudice, except as otherwise
provided in the Amended Certificate of Incorporation and By-Laws, to any right to alter or
terminate such existence (whether by merger, dissolution, or otherwise) under applicable state
law. Pursuant to Section 10.1 of the Plan, except as otherwise provided in the Plan, the Plan
Documents or the Confirmation Order, the property of the Estate of Leslie (except for the Leslie
Contribution) shall vest in Reorganized Leslie on the Effective Date free and clear of any and all
Liens, Claims, Encumbrances and other interests of any Entity. From and after the Effective
Date, Reorganized Leslie may operate its business and may use, acquire, and dispose of property
free of any restrictions imposed under the Bankruptcy Code, the Bankruptcy Rules, and the
Bankruptcy Court. Without limiting the generality of the foregoing, Reorganized Leslie may,
without application to, or approval by, the Bankruptcy Court, pay Professional fees and
expenses that Reorganized Leslie incurs after the Effective Date.

10. Objection to Claims. Pursuant to Section 8.2 of the Plan, Leslie or Reorganized

Leslie shall be entitled to object to Claims that have been or should have been brought in the

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Bankruptcy Court (other than Asbestos Pl Claims) on or before the first (1 st) anniversary of the
Effective Date (unless such day is not a Business Day, in which case such deadline shall be the
next Business Day thereafter), as the same may be extended from time to time by the
Bankruptcy Court, and shall be authorized to settle, compromise, withdraw or litigate to
judgment such objections without further approval of the Bankruptcy Court,

l l. Distributions. Other than with respect to distributions to be made to Asbestos Pl
Claims from the Asbestos Pl Trust, Reorganized Leslie shall make all Distributions required to
be made under the Plan as provided under Article VI of the Plan. All Distributions to be made
on account of Asbestos PI Claims shall be made in accordance with the terms of the Asbestos PI
Trust Agreement and the Asbestos Pl Trust Distribution Procedures, subject to the conditions
for the Trust Distribution Effective Date as set forth in Section 12.3 of the Plan having been
previously satisfied

12. Disputed Claims. All Disputed Claims against the Debtor shall be subject to the
provisions of Article VIII of the Plan. Notwithstanding any other provision of the Plan, if any
portion of a Claim (other the Debtor an Asbestos PI Claim) is a Disputed Claim, no payment or
Distribution provided for under the Plan shall be made on account of such Claim, unless and
until such Claim becomes an Allowed Claim, All Asbestos PI Claims shall be determined and
paid by the Asbestos PI Trust in accordance with Section 9.3 of the Plan, the Asbestos PI Trust
Agreement and the Asbestos PI Trust Distribution Procedures; only the Asbestos PI Trust will
have the right to object to and/or resolve Asbestos PI Claims; and all Asbestos PI Claims must
be submitted solely to the Asbestos PI Trust for payment, which shall be in accordance with the

Asbestos PI Trust Distribution Procedures.

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13. Assumption or Reiection of Executory Contracts and Unexpired Leases (11
U.S.C. § 1 1231b152)1. Pursuant to Section 7 .l of the Plan, the Debtor shall assume, as of the
Effective Date, all Executory Contracts to which the Debtor is a party, except for: (a) the
Executory Contracts specifically listed in certain Schedules to the Plan Supplement, if any,
which shall either be rejected or assumed and assigned, respectively, as described therein; and
(b) the Executory Contracts specifically addressed herein or pursuant to a Final Order of the
Bankruptcy Court entered on or before the Effective Date. The Debtor may, at any time on or
before the Effective Date, amend the Schedules to the Plan Supplement to delete therefrom or
add thereto any Executory Contract. The Debtor shall provide notice of any such amendment to
the parties to the Executory Contract(s) affected thereby and to parties on any master service list
established by the Bankruptcy Court in the Chapter 1 l Case. The fact that any contract or lease
is listed in the Schedules to the Plan Supplement shall not constitute or be construed to
constitute an admission that such contract or lease is an executory contract or unexpired lease
within the meaning of section 365 of the Bankruptcy Code or that the Debtor or any successor in
interest to the Debtor (including Reorganized Leslie) has any liability thereunder. All Executory
Contracts assumed or assumed and assigned by the Debtor during the Chapter 1 l Case or under
the Plan shall remain in full force and effect for the benefit of Reorganized Leslie or the
assignee thereof notwithstanding any provision in such contract or lease (including those
provisions described in sections 365(b)(2) and (1) of the Bankruptcy Code) that prohibits such
assignment or transfer or that enables or requires termination of such contract or lease. This
Confirrnation Order shall constitute an order of the Bankruptcy Court approving such: (a)

rej ections; (b) assumptions; or (c) assumptions and assignments, as the case may be, pursuant to

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sections 365 and 1123 of the Bankruptcy Code as of the Effective Date. For the avoidance of
doubt, the Undertaking (defined below) is not an Executory Contract.

14. Cure of Defaults, Pursuant to Section 7.2 of the Plan and as modified herein,
except to the extent that different treatment has been agreed to by the non-Debtor party or
parties to any Executory Contract to be assumed (including any Executory Contract to be
assumed and assigned) pursuant to Section 7.1 of the Plan, Reorganized Leslie shall, pursuant to
the provisions of sections 1123(a)(5)(G) and 1123(b)(2) of the Bankruptcy Code and consistent
with the requirements of section 365 of the Bankruptcy Code, satisfy any monetary amounts by
Cure. lf there is a dispute regarding (a) the nature or amount of any Cure, (b) the ability of
Reorganized Leslie to provide “adequate assurance of future performance” (within the meaning
of section 365 of the Bankruptcy Code) under the Executory Contract to be assumed, or (c) any
other matter pertaining to assumption, Cure shall occur following the entry of a Final Order by
the Bankruptcy Court resolving the dispute and approving the assumption or assumption and
assignment, as the case may be; p_rovided, ho_wN, that the Debtor or Reorganized Leslie, as
applicable, shall be authorized to reject any Executory Contract to be deemed effective
as of the day before the Effective Date, to the extent the Debtor or Reorganized Leslie, in the
exercise of their sound business judgment, conclude that the amount of the Cure obligation as
determined by such Final Order, renders the assumption of such Executory Contract unfavorable
to the Debtor or Reorganized Leslie,

15, Bar to Rejection Damages. Pursuant to Section 7.3 of the Plan, in the event that
the rejection of an Executory Contract by the Debtor pursuant to the Plan results in damages to
the non-Debtor party or parties to such Executory Contract, a claim for such damages, if not

heretofore evidenced by a filed proof of claim, shall be forever barred and shall not be

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enforceable against the Debtor, or against Reorganized Leslie afier the Effective Date, or its
properties or interests in property, unless a Proof of Claim with respect to such damages is filed
with the Bankruptcy Court and served upon counsel for the Debtor on or before (i) if such
Executory Contract is rejected pursuant to Sections 7.1 and 7.2 of the Plan, the later of: (a) thirty
(30) days after entry of this Confirrnation Order, and (b) thirty (30) days after the non-Debtor
party receives notice of the rejection of such Executory Contract pursuant to Section 7.2 of the
Plan; and (ii) if such Executory Contract is rejected pursuant to a Final Order of the Bankruptcy
Court granting a motion filed by the Debtor to reject that executory contract, thirty (30) days
after entry of such order.

16. Preservation of lnsurance. Subject Section 10.4 of the Plan: nothing in the Plan,
the Plan Documents, or the Confirrnation Order, including the discharge and release of Leslie
and the Asbestos Pl Channeling Injunction, shall enlarge, diminish, impair or otherwise affect
the enforceability of any Asbestos Pl Insurance Contract or any other insurance policy that may
provide coverage for Claims or Demands against Leslie; and all Asbestos PI Insurance Contracts
and Insurance Settlement Agreements shall be assumed by the Debtor and assigned to
Reorganized Leslie as of the Effective Date and the Debtor shall assign Asbestos Insurance
Actions and Asbestos Insurance Rights to the Asbestos PI Trust as part of the Leslie
Contribution,

17. General Authorizations. The Debtor and Reorganized Leslie are authorized to
execute, deliver, file, or record such contracts, instruments, releases, and other agreements or
documents and take such actions as may be necessary or appropriate to effectuate, implement,
and further evidence the terms and conditions of the Plan, including without limitation any notes

or securities issued pursuant to the Plan. The Debtor and Reorganized Leslie and their

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respective directors, officers, members, agents, and attorneys, are authorized and empowered to
issue, execute, deliver, file, or record any agreement, document, or security, including, without
limitation, as modified, amended, and supplemented in substantially the form included therein,
and to take any action necessary or appropriate to implement, effectuate, and consummate the
Plan in accordance with its terrns, or take any or all corporate actions authorized to be taken
pursuant to the Plan, and any release, amendment, or restatement of any bylaws, certificates of
incorporation, or other organization documents of the Debtor, whether or not specifically
referred to in the Plan or the Plan Documents, without further order of the Bankruptcy Court,
and any or all such documents shall be accepted by each of the respective state filing offices and
recorded in accordance with applicable state law and shall become effective in accordance with
their terms and the provisions of state law.

18. Transfers of Pronerty from The Debtor to Reorganized Leslie, The transfers of
property by the Debtor to Reorganized Leslie (a) are or will be legal, valid, and effective
transfers of property; (b) vest or will vest Reorganized Leslie with good title to such property,
except as expressly provided in the Plan or this Confirmation Order; (c) do not and will not
constitute avoidable transfers under the Bankruptcy Code or under other applicable bankruptcy
or non-bankruptcy law; and (d) do not and will not subject Reorganized Leslie to any liability by
reason of such transfer under the Bankruptcy Code or applicable non-bankruptcy law, including,
without limitation, any laws affecting or effecting successor or transferee liability.

19. Apnroval of Settlements. 'l`ransactions and Agreements. By virtue of this
Confirmation Order, the other settlements, transactions and agreements to be effected pursuant
to the Plan are hereby approved in all respects, including, without limitation, the Asbestos PI

Trust Agreement, the Asbestos Pl Trust Bylaws and the Asbestos Pl Trust Distribution

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Procedures. The release of ClRCOR Related Parties and Watts Related Parties with respect to
Derivative Liability Asbestos PI Claims in exchange for the CIRCOR Contribution is also
approved in all respects

The terms and conditions of the Leslie Promissory Note, the Pledge Agreement and any
related documents are essential to the success and feasibility of the Plan. All such documents
shall constitute legal, valid, binding and authorized obligations of the parties obligated
thereunder, enforceable in accordance with their terms. On the Effective Date, all of the liens
and security interests granted in accordance with such documents shall be deemed approved and
shall be legal, valid, binding and enforceable Lines on the collateral in accordance with the terms
of each agreement

20. Amended Certificate of lncorporation and By-Laws. The Amended Certificate of
lncorporation and Amended By-Laws contain such provisions as are necessary to satisfy the
provisions of the Plan and prohibit, to the extent necessary, the issuance of nonvoting equity
securities as required by section ll23(a)(6) of the Bankruptcy Code, subject to further
amendment after the Effective Date as permitted by applicable law. Except as otherwise
provided in the Plan, the Amended Certificate of Incorporation and Amended By-Laws in
accordance with their respective terms contain indemnification provisions applicable to the
member, manager and employees of Reorganized Leslie and such other Entities as may be
deemed appropriate in the discretion of Reorganized Leslie.

21. Governmental Apnrovals Not Required. This Confirmation Order shall
constitute all approvals and consents required, if any, by the laws, rules, or regulations of any
state or any other governmental authority with respect to the implementation or consummation

of the Plan and any documents, instruments, or agreements, and any amendments or

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modifications thereto, and any other acts referred to in or contemplated by the Plan, the
Disclosure Statement, and any documents, instruments, or agreements, and any amendments or
modifications thereto.

22, Exemption from Transfer Taxes. Pursuant to section 1146(a) of the Bankruptcy
Code, the issuance, transfer, or exchange of notes or equity securities under the Plan, the
creation of any mortgage, deed of trust, or other security interest, the making or assignment of
any lease or sublease, or the making or delivery of any deed or other instrument of transfer
under, in furtherance of, or in connection with the Plan shall be exempt from all taxes as
provided in such section 1146(a).

23. Administrative Expense Claims. All Administrative Expense Requests must be
made by application filed with the Bankruptcy Court and served on counsel for the Debtor no
later than the Administrative Expense Claims Bar Date which shall be sixty (60) days afier the
Effective Date or the First Business day following such date. ln the event that the Debtor or
Reorganized Leslie objects to an Administrative Expense Claim, the Bankruptcy Court shall
determine the Allowed amount of such Administrative Expense Claim, Notwithstanding the
foregoing, (a) no application seeking payment of an Administrative Expense Claim need be filed
with respect to an undisputed post-petition obligation which was paid or is payable by the
Debtor in the ordinary course of business; provided, however, that in no event shall a post-
petition obligation that is contingent or disputed and subject to liquidation through pending or
prospective litigation, including, but not limited to, obligations arising from personal injury,
property damage, products liability, consumer complaints, employment law (excluding claims
arising under workers’ compensation law), secondary payor liability, or any other disputed legal

or equitable claim based on tort, statute, contract, equity, or common law, be considered to be an

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obligation which is payable in the ordinary course of business; and (b) no application seeking
payment of an Administrative Expense Claim need be filed with respect to Cure owing under an
executory contract or unexpired lease if the amount of Cure is fixed by order of the Bankruptcy
Court.

24. Reorganized Leslie, in its sole and absolute discretion, may settle Administrative
Expense Claims in the ordinary course of business without further Bankruptcy Court approval.
Leslie or Reorganized Leslie shall have the right to object to any Administrative Expense Claim
by the later of: (a) one hundred and eighty (180) days after the Effective Date, subject to such
extensions as may be granted from time to time by the Bankruptcy Court; and (b) thirty (30)
days after the date such Administrative Expense Claim is filed Unless Leslie or Reorganized
Leslie objects to an Administrative Expense Claim, such Claim shall be deemed allowed in the
amount requested ln the event that Leslie or Reorganized Leslie timely objects to an
Administrative Expense Claim, the parties may confer to try to reach a settlement and, failing
that, the Bankruptcy Court shall determine whether such Administrative Expense Claim should
be Allowed and, if so, in what amount.

25. Professional Fee Claims. Notwithstanding anything to the contrary in the
Confirmation Order, all entities seeking awards by the Bankruptcy Court of compensation for
services rendered or reimbursement of expenses incurred through and including the Effective
Date under sections 330 or 503 of the Bankruptcy Code (the "Professional Fee Claims") shall (a)
file no later than sixty days (60) days after the Effective Date, their respective applications for
final allowance of compensation for services rendered and reimbursement of expenses incurred;
and (b) be paid in f`ull, in Cash, in such amounts as are Allowed by the Bankruptcy Court (i)

upon the later of (A) the Effective Date and (B) the first Business Day after the date that is thirty

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(30) calendar days after the date such Administrative Expense Claim becomes an Allowed
Administrative Expense Claim; or (ii) upon such other terms as may be mutually agreed upon by
such holder and Reorganized Leslie. Objections to any requests for Professional Fee Claims can
be filed by the United States Trustee and any party in interest so long as such objections are
filed within the time frame set forth in the notice served with the application seeking payment of
Professional Fee Claims, unless an extension is granted by the applicant Reorganized Leslie is
authorized to pay compensation for Professional services rendered and reimbursement of
expenses incurred after the Effective Date in the ordinary course of business and without the
need for Bankruptcy Court approval.

26. Insurance Neutrality. Section 10.4 of the Plan is modified to read as follows§

“10.4 Insurance Neutrality. Notwithstanding anything in the Plan, the Plan
Documents, or the Confirmation Order or any other order of the Court to the contrary
(including, without limitation, any other provision that purports to be preemptory or supervening
or grants a release), on the Effective Date, each of the Asbestos PI Insurance Contracts or
Insurance Settlement Agreements shall, as applicable, either be (a) deemed assumed to the
extent such Asbestos Pl Insurance Contracts or Insurance Settlement Agreements were
executory contracts of Leslie or Reorganized Leslie pursuant to section 365 of the Bankruptcy
Code or (b) continued in accordance with its terms, such that each of the parties’ contractual,
legal, and equitable rights under each such assumed or continued Asbestos Pl Insurance
Contract or Insurance Settlement Agreement shall remain unaltered

Except as otherwise provided in this Article 10.4, nothing in the Plan, the Plan
Documents, or the Confirmation Order or any other order of the Court to the contrary

(including, without limitation, any other provision that purports to be preemptory or supervening

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or grants a release): (a) shall affect, impair or prejudice the rights and defenses of the Asbestos
Insurance Entities, Leslie, Reorganized Leslie, or any other insureds under the Asbestos Pl
Insurance Contracts in any manner; (b) shall in any way operate to, or have the effect of,
impairing or having any res judicata, collateral estoppel, or other preclusive effect on any
party’s legal, equitable, or contractual rights or obligations under any Asbestos Pl Insurance
Contract in any respect; or (c) shall otherwise determine the applicability or non-applicability of
any provision of any Asbestos Pl Insurance Contract and any such rights and obligations shall
be determined under Asbestos Pl Insurance Contracts and applicable l'aw. Additionally, any
Asbestos Insurance Action against any Asbestos Insurance Entity related to any Asbestos Pl
Insurance Contract shall be handled in the forum specified in the relevant Asbestos Pl Insurance
Contract or, if no forum is so specified in a court of competent jurisdiction other than the
Bankruptcy Court; provided however, that nothing herein waives any right of the Asbestos Pl
Trust, Leslie, Reorganized Leslie, or the Asbestos Insurance Entities to require arbitration to the
extent the relevant Asbestos PI Insurance Contract provides for such.

To the extent it becomes necessary to enforce the terms of this Article 10.4 in any
Asbestos Insurance Action against any Asbestos Insurance Entity related to any Asbestos Pl
Insurance Contract, the party seeking to enforce this article may offer or tender the terms of this
Article 10.4 to the judge presiding over such Asbestos Insurance Action, and the parties to the
Asbestos Insurance Action shall stipulate and agree that this Article 10.4 is binding upon them
and was approved by the Bankruptcy Court in the Confirmation Order.

Except as provided in this Article 10.4, with respect to and for purposes of construing and
applying any Asbestos PI Insurance Contract to resolve any Asbestos Insurance Action, nothing

in the Plan, the Plan Documents, or the Confirmation Order or any other judgment, order,

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finding of fact, conclusion of law, determination, ruling or statement (written or oral) made or
entered by the Bankruptcy Court or by any other court exercising jurisdiction over the
Bankruptcy Case, including, without limitation, any judgment, order, writ, or opinion entered on
appeal from any of the foregoing, shall constitute an adjudication, judgment, trial, hearing on the
merits, finding, conclusion, or other determination; or evidence or suggestion of any such
determination, establishing or relating to the liability (in the aggregate or otherwise) or coverage
obligation of any Asbestos Insurance Entity for any Claim(s).

Notwithstanding anything to the contrary in the Plan or Confirmation Order, no
exculpation, release, injunction, or discharge provisions in the Plan or Confirmation Order shall
affect or limit the rights or obligations of, or protections afforded Leslie, Reorganized Leslie, or
Asbestos lnsurance Entities under this Article 10.4 in regards to any Asbestos Insurance Action
arising under an Asbestos Pl Insurance Contracts.”

27. Settling Asbestos Insurance Entities. The Entities listed on Exhibit F to the Plan
are Settling Asbestos lnsurance Entities pursuant to the Plan and shall have the rights and
benefits entitled to such Settling Asbestos Insurance Entities under the Plan. The Debtor shall
have until the later of the Confirmation Date or 40 days after entry of this Confirmation Order to
add Entities to Exhibit F to the Plan.

28. Dissolution of Committee, Effective on the Effective Date, any committee
appointed in the Chapter 11 Case shall be dissolved automatically, whereupon its members,
Professionals, and agents shall be released from any further duties and responsibilities in the
Chapter ll Case and under the Bankruptcy Code, except with respect to applications for
compensation by Professionals or reimbursement of expenses incurred as a member of an

official committee and any motions or other actions seeking enforcement or implementation of

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the provisions of the Plan or the Confirmation Order or pending appeals of any other order
entered in the Chapter 11 Case, including any appeal of the Confirmation Order. The
Committee may, at its option, participate in any appeal of the Confirmation Order. Reorganized
Leslie shall pay the reasonable fees and costs incurred by the Committee in connection with any
appeal of the Confirmation Order.

29. Continuation of Future Claimants’ Representative From and after the Effective
Date, the Future Claimants’ Representative shall continue to serve as provided in the Plan and
the Asbestos Pl Trust Agreement, to perform the functions specified and required therein. The
Future Claimants’ Representative also may, at his option, participate in any: (a) appeal of the
Confirmation Order; (b) hearing on a claim for compensation or reimbursement of a
Professional; or (c) adversary proceeding pending on the Effective Date in which the Future
Claimants’ Representative is a party. Reorganized Leslie shall pay the reasonable fees and costs
incurred by the Future Claimants’ Representative in connection with any appeal of the
Confirmation Order.

DISCHARGE AND lNJUNCTIONS

30. Discharge. Pursuant to Section ll.l of the Plan, except as specifically provided
for in Sections 4.1, 4.2, 4.3 and 11.10 of the Plan, pursuant to section 1 l4l(d)(1)(A) of the
Bankruptcy Code, continuation of the Plan shall discharge Leslie and Reorganized Leslie from
any and all Claims of any nature whatsoever, including, without limitation, all Claims and
liabilities that arose before the Effective Date and all debts of the kind specified in sections
502(g), 502(h) and 502(i) of the Bankruptcy Code, whether or not: (a) a Proof of Claim based on
such 'Claim was filed under section 501 of the Bankruptcy Code, or such Claim was listed on

any Schedules of Leslie; (b) such Claim is or was allowed under section 502 of the Bankruptcy

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Code; or (c) the holder of such Claim has voted on or accepted the Plan. Except as specifically
provided for in Sections 4.1, 4.2, 4.3 and 11.8 of the Plan, as of the Effective Date the rights
provided in the Plan shall be in exchange for and in complete satisfaction, settlement and
discharge of all Claims against Leslie or Reorganized Leslie or any of their respective assets and
properties

31. Injunction. Pursuant to Section 11.2 of the Plan, except as specifically provided
for in Sections 4.1, 4.2, 4.3 and 1 1.10 of the Plan, all persons or Entities who have held hold or
may hold Claims or Demands are permanently enjoined from and after the Effective Date,
from: (a) commencing or continuing in any manner any action or other proceeding of any kind
against Reorganized Leslie with respect to such Claim or Demand; (b) enforcing, attaching
collecting, or recovering by any manner or means of any judgment, award decree, or order
against Reorganized Leslie with respect to such Claim or Demand; (c) creating, perfecting, or
enforcing any Encumbrance of any kind against Reorganized Leslie or against the property or
interests in property of Reorganized Leslie with respect to such Claim or Demand; (d) asserting
any right of setoff`, subrogation, or recoupment of any kind against any obligation due to
Reorganized Leslie or against the property or interests in property of Reorganized Leslie, with
respect to such Claim or Demand; and (e) pursuing any Claim or Demand released pursuant to
Article XI of the Plan.

32. Exculpation. Pursuant to Section 1 1.3 of the Plan, none of the Released Parties
shall have or incur any liability to any holder of a Claim or Equity Interest, including, without
limitation, the Asbestos Pl Claims, for any act or omission in connection with, related to, or
arising out of: (a) the Chapter ll Case; (b) pursuit of confirmation of the Plan; (c)

consummation of the Plan, or administration of the Plan or the property to be distributed under

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the Plan or the Asbestos Pl Trust Distribution Procedures; (d) the Plan; or (e) the negotiation,
formulation and preparation of the Plan, the Plan Documents, and any of the terms and/or
settlements and compromises reflected in the Plan and the Plan Documents, except for willful
misconduct or gross negligence as determined by a Final Order, and, in all respects, Leslie,
Reorganized Leslie, and each of the other Released Parties shall be entitled to rely upon the
advice of counsel with respect to their duties and responsibilities under the Plan and the Plan
Documents.

33. Release by Debtor Released Parties of Released Parties. Pursuant to Section 11.4
of the Plan, as of the Effective Date, for good and valuable consideration, the adequacy of which
is hereby confirmed the Debtor, Reorganized Leslie, any other Debtor Released Party and any
Entity seeking to exercise the rights of the Estate, in each case, whether individually or
collectively, including, without limitation, any successor to the Debtor or any Estate
representative appointed or selected pursuant to the applicable provisions of the Bankruptcy
Code, shall be deemed to forever release, waive and discharge the Released Parties of all claims,
obligations, suits, judgments, remedies, damages, Demands, debts, ri ghts, Causes of Action and
liabilities which the Debtor, any other Debtor Released Parties of the Estate are entitled to assert
including, without limitation, any Derivative Liability Asbestos PI Claims and Derivative
Liability Claims asserted on behalf of the Debtor, whether known or unknown, liquidated or
unliquidated fixed or contingent, foreseen or unforeseen, matured or unmatured existing or
hereinafter arising, in law, equity or otherwise, based in whole or in part upon any act or
omission, transaction, or occurrence taking place on or prior to the Effective Date in any way
relating to the Debtor, the Estate, the conduct of the Debtor’s business, the Chapter ll Case, the

Plan or Reorganized Leslie (other than the rights under the Plan, the Plan Documents, and the

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contracts, instruments, releases and other agreements or documents delivered or to be delivered
hereunder); provided however, that nothing contained in the Plan is intended to operate as a
release of any potential claims based upon gross negligence or willful misconduct
Notwithstanding anything contained in Section 1 1.4 of the Plan, nothing contained in the Plan
shall discharge or release any Claim of or Demand by any of the Released Parties, the Asbestos
PI Trust or any holder of an Asbestos Pl Claim against any Asbestos Insurance Entity.

34. Release by Non-Debtor Released Parties of Released Parties. Pursuant to Section
11.5 of the Plan, as of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed the Non-Debtor Released Parties shall be deemed to forever release,
waive and discharge the Released Parties and the Asbestos Pl Trust of and from all claims,
obligations, suits, judgments, remedies, damages, Demands, debts, ri ghts, Causes of Action and
liabilities which the Non-Debtor Released Parties are entitled to assert, whether known or
unknown, liquidated or unliquidated fixed or contingent, foreseen or unforeseen, matured or
unmatured existing or hereinafter arising, in law, equity or otherwise, based in whole or in part
upon any act or omission, transaction, or occurrence taking place on or prior to the Effective
Date in any way relating to the Debtor, the Estate, the conduct of the Debtor’s business, the
Chapter ll Case, the Plan or Reorganized Leslie (other than the rights under the Plan, the Plan
Documents, and the contracts, instruments, releases and other agreements or documents
delivered or to be delivered hereunder); provided however, that nothing contained in the Plan is
intended to operate as a release of any potential claims based upon gross negligence or willful
misconduct Notwithstanding anything contained in Section l 1.5 of the Plan, nothing contained
in the Plan shall discharge or release any Claim of or Demand by any of the Released Parties,

the Asbestos PI Trust or any holder of an Asbestos PI Claim against any Asbestos Insurance

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Entity. Notwithstanding anything contained in Section 1 1.5 of the Plan, or elsewhere in the Plan
(including but not limited to in Sections 9.3(j), 10.6, 11.3 and 11.7) or the Plan Documents,
nothing contained in the Plan, the Plan Documents or this Confirmation Order shall discharge,
release, impair, enjoin, or prejudice in any way any claim, rights, or demands that any of the
Watts Related Parties have asserted or may assert under (1) the Distribution Agreement dated as
of October 1, 1999 by and between Watts lndustries, lnc. and CIRCOR or (2) any insurance
policy or contract providing coverage to any or all of the Watts Related Parties.

35. Release by Holders of Claims and Equity lnterests. Pursuant to Section 11.6 of
the Plan, as of the Effective Date, for good and valuable consideration, the adequacy of which is
hereby confirmed each holder of a Claim or Demand against, or Equity Interest in, Leslie, who
receives a Distribution pursuant to the Plan shall be deemed to forever release, waive, and
discharge all claims, obligations, suits, judgments, remedies, damages, Demands, debts, rights,
Causes of Action and liabilities whatsoever against the Released Parties whether known or
unknown, liquidated or unliquidated fixed or contingent, foreseen or unforeseen, matured or
unmatured existing or hereinafier arising, in law, equity or otherwise, based in Whole or in part
upon any act or omission, transaction, or occurrence taking place on or prior to the Effective
Date in any way relating to the Debtor, the Estate, the conduct of the Debtor’s business, the
Chapter 11 Case, the Plan or Reorganized Leslie (other than the rights under the Plan, the Plan
Documents, and the contracts, instruments, releases and other agreements or documents
delivered or to be delivered hereunder), including, for the avoidance of doubt, any and all
Causes of Action that the holder of an Asbestos PI Claim, the Asbestos Pl Trust or the Future
Claimants Representative did commence or could have commenced against any officer or

director of Leslie (serving in such capacity) that is based upon or arising from any acts or

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omissions of such officer or director occurring prior to the Effective Date on account of such
Asbestos PI Claim, to the fullest extent permitted under section 524(e) of the Bankruptcy Code
and applicable law (as now in effect or subsequently extended); provided l_rp_w', that nothing
contained in the Plan is intended to operate as a release of (a) any potential claims based upon
gross negligence or willful misconduct or (b) any claim by any federal, state or local authority
under the lntemal Revenue Code or other tax regulation or any applicable environmental or
criminal laws.

36. Releases, Exculpations, and lnjunctions. The release, exculpation, and injunction
provisions contained in the Plan are fair and equitable, are given for valuable consideration, and
are in the best interests of the Debtor and its chapter 11 estate, and such provisions shall be
effective and binding upon all persons and entities. ln addition, the releases of and by non-
Debtors under the Plan are fair to holders of Claims and Interests and are necessary to the
proposed reorganization, and set forth the proper standard of liability, thereby satisfying the
requirements of PWS Holding Corp., 228 F.3d 224, 246 (3d Cir. 2000), ln re Continental

Airlines lnc, 203 F.3d 203, 214 (3d Cir. 2000), and ln re Zenith Electronics Corp., 241 B.R. 92,

 

110-11 (Bankr. D. Del. 1999).

37. Terrnination of Injunctions and Automatic Stay. Pursuant to Section 10.5 of the
Plan, all of the injunctions and/or stays in existence immediately prior to the Confirmation Date
provided for in or in connection with the Chapter 1 l Case, whether pursuant to section 105, 362,
or any other provision of the Bankruptcy Code, the Bankruptcy Rules or other applicable law,
including, but not limited to, the injunction provided for by the Preliminary Injunction Order
shall remain in full force and effect until the injunctions set forth in the Plan become effective

pursuant to a Final Order. ln addition, on and afier the Confirmation Date, Reorganized Leslie

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may seek such further orders as it may deem necessary or appropriate to preserve the status quo
during the time between the Confirmation Date and the Effective Date.

38. Each of the injunctions contained in the Plan or the Confirmation Order shall
become effective on the Effective Date and shall continue in effect at all times thereafier unless
otherwise provided by the Plan or the Confirmation Order. All actions of the type or nature of
those to be enjoined by such injunctions shall be enjoined during the period between the
Confirmation Date and the Effective Date.

39. Asbestos Pl Channeling lniunction. The Asbestos Pl Channeling Injunction is
essential to the Plan and the Debtor’s reorganization efforts, and is to be implemented in
accordance with the Plan and the Asbestos Pl Trust. Pursuant to Section 1 1.7 of the Plan,
section 524(g) of the Bankruptcy Code and this Confirmation Order, and subject to Section 11.8
of the Plan, the sole recourse of any holder of an Asbestos Pl Claim on account of such Asbestos
PI Claim shall be against the Asbestos Pl Trust, Each such holder shall be and is enjoined from
‘ taking legal action directed against Leslie, Reorganized Leslie, any of the CIRCOR Related
Parties or Watts Related Parties, or any other Asbestos Protected Party, or their respective
property, for the purpose of directly or indirectly collecting, recovering or receiving payment or
recovery relating to such Asbestos PI Claim,

40. Limitations of lniunctions. Pursuant to Section 11.8 of the Plan, the releases set
forth in the Plan and the injunction set forth in Section 11.7 above shall not enjoin: (a) the rights
of Entities to the treatment accorded to them under Articles lll and lV of the Plan, as applicable,
including the rights of Entities with Asbestos Pl Claims to assert such Claims or Demands

against the Asbestos Pl Trust in accordance with the Asbestos Pl Trust Distribution Procedures;

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and (b) the rights of Entities to assert any Claim, debt, obligation, or liability for payment of
Asbestos Pl Trust Expenses against the Asbestos Pl Trust.

THE ASBESTOS PI TRUST

41. Creation of Asbestos Pl Trust. Pursuant to Section 9.3 of the Plan, on the
Effective Date, the Asbestos Pl Trust shall be created in accordance with the Plan Documents,
the Asbestos PI Trust Documents and section 524(g) of the Bankruptcy Code. The Asbestos Pl
Trust is intended to constitute a “qualified settlement fund” within the meaning of section 468B
of the lntemal Revenue Code and the regulations issued thereunder. The purpose of the
Asbestos Pl Trust shall be to assume, Liquidate and, after the Trust Distribution Effective Date,
resolve all liabilities determined to arise from, or relate to, the Asbestos PI Claims (whether
existing as of the Effective Date or arising at any time thereafter) and, after the Trust
Distribution Effective Date, to use the Asbestos Pl Trust Assets to pay holders of Asbestos PI
Claims in accordance with the terms of the Asbestos PI Trust Agreement, the Asbestos Pl Trust
Distribution Procedures, the Plan and the Confirmation Order, and in such a way as to provide
reasonable assurance that the Asbestos Pl Trust will value, and be in a financial position to pay,
present Asbestos Pl Claims and fixture Demands that involve similar claims in substantially the
same manner, and to otherwise comply in all respects with the requirements of section
524(g)(2)(B) of the Bankruptcy Code. The Asbestos Pl Trust shall have no liability for any
Claim other than an Asbestos Pl Claim, which shall be determined and after the Trust
Distribution Effective Date, paid in accordance with the terms, provisions and procedures of the
Asbestos Pl Trust Agreement and the Asbestos Pl Trust Distribution Procedures, On the
Effective Date, all ri ght, title and interest in and to the Asbestos Pl Trust Assets, and any

proceeds thereof`, will be transferred to, and vested in, the Asbestos PI Trust, free and clear of all

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Claims, Demands, Equity Interests, Encumbrances and other interests of any Entity without any
further action of the Bankruptcy Court or any Entity, but subject to the remaining provisions of
Section 9.3 of the Plan.

42. Appointment of Asbestos Pl Trustee. As set forth in the Plan Supplement, the
Asbestos Pl Trustee shall be The Honorable Alfred M. Wolin (ret’d).

43. Creation of the Asbestos Pl Trust Advisory Committee. On the Effective Date,
there shall be formed an Asbestos Pl Trust Advisory Committee which will serve in accordance
with the Asbestos PI Trust Agreement. The initial members of the Asbestos Pl Trust Advisory
Committee shall be: Alan Brayton, John Cooney, John A. Baden, lV, Peter A. Kraus and Steven
Kazan. w

44. Contributions to the Asbestos Pl Trust, On the Effective Date, Leslie shall make
the Leslie Contribution and CIRCOR shall make the CIRCOR Asbestos Pl Trust Contribution,
to the Asbestos Pl Trust. The ClRCOR Asbestos Pl Trust Contribution constitutes substantial
assets of the Plan and the reorganization, is essential and necessary to the feasibility of the Plan
and the successful reorganization of the Debtor and constitutes a sufficient basis upon which to
provide the CIRCOR Related Parties and Watts Related Parties with the protections afforded to
them under the Plan, Plan Documents and this Confirmation Order.

45. Leslie Promissory Note. On the Effective Date, as part of the Leslie
Contribution, Reorganized Leslie shall execute and deliver to the Asbestos Pl Trust the Leslie
Promissory Note. As security for the Leslie Promissory Note, on the Effective Date, ClRCOR
shall execute and deliver to the Asbestos Pl Trust the CIRCOR Pledge.

46. Limitation on Incurrence of Costs. During the period on and after the Effective

Date but prior to the Trust Distribution Effective Date, the Asbestos PI Trust shall not incur

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costs (defined broadly to include all obligations, including salaries, disburse,rnents, expenses,
and all other costs) in an aggregate total amount greater than $500,000.

47. Preservation of Insurance Claims. The discharge, release, exculpation and

 

indemnification of the Released Parties pursuant to the Plan shall neither diminish nor impair
the enforceability of any Asbestos PI Insurance Contract. The Asbestos PI Trust is, and shall be
deemed to be for all purposes, including, but not limited to for purposes of insurance and
indemnity, the successor to Leslie in respect of all Asbestos PI Claims. An Asbestos Pl Claim
determined to be payable pursuant to the provisions governing the Asbestos PI Trust (as
successor for all purposes to the liabilities of Leslie in respect of Asbestos Pl Claims) shall be
liquidated by the Asbestos Pl Trust in accordance with the Asbestos Pl Trust Distribution
Procedures.

48. Failure of Trust Distribution Effective Date. If the Confirmation Order is
vacated modified or reversed after its affirmance or issuance by the District Court, then the
Debtor, CIRCOR, the Asbestos PI Trust Advisory Committee and the Future Claimants’
Representative shall negotiate in good faith to determine if they can agree upon a modified Plan
acceptable to all such parties. If the parties are unable to do so within 90 days from the date of
such vacating, modification, or reversal of the Confirmation Order (which period may be
extended by the agreement of the Debtor, CIRCOR, the Asbestos Pl Trust Advisory Committee,
and Future Claimants’ Representative, filed with the Bankruptcy Court), then the following shall
thereupon occur: (i) the Asbestos Pl Trust shall immediately return the Leslie Promissory Note
to Leslie; (ii) the Pledge Agreement shall be null and void; (iii) the Asbestos Pl Trust shall
immediately transfer all of its assets to CIRCOR, except for the Leslie Promissory Note Which

shall be returned to Leslie; (iv) all rights and interests relating to insurance previously

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transferred by the Debtor to the Asbestos Pl Trust shall immediately and automatically revert to
the Debtor; (v) the Asbestos Pl Trust shall immediately thereafter be dissolved and its
determinations with respect to any Asbestos PI Claims shall be deemed void; (vi) any Asbestos
Records shall be returned to CIRCOR and/or Leslie, as applicable; and (vii) each of the
injunctions and releases contained in the Plan or the Confirmation Order shall be deemed
terminated

49. Transfer of Claims and Demands to the Asbestos Pl Trust. On the Effective
Date, all liabilities, obligations, and responsibilities relating to all Asbestos Pl Claims and
Demands shall be transferred and channeled to the Asbestos PI Trust and shall be satisfied
solely by the assets held by the Asbestos Pl Trust. The Asbestos Pl Trust shall have no liability
for any Claims other than Asbestos Pl Claims, and no Claims other than Asbestos Pl Claims
shall be transferred and channeled to the Asbestos PI Trust.

50. Discharge of Liabilities to Holders of Asbestos Pl Claims. The transfer to,
vesting in, and assumption by the Asbestos Pl Trust of the Asbestos PI Trust Assets, on or after
the Effective Date, as contemplated by the Plan, and the occurrence of the Trust Distribution
Effective Date shall, among other things, discharge all obligations and liabilities of all Asbestos
Protected Parties for and in respect of all Asbestos PI Claims as of the Trust Distribution
Effective Date.

51. lndemnification by the Asbestos PI Trust. As and to the extent provided in the
Asbestos PI Trust lndemnification Agreement, the Asbestos PI Trust shall indemnify and hold
harmless each of the following Entities for any liability, or alleged liability, arising out of, or

resulting from, an Asbestos Pl Claim: (i) Leslie and Reorganized Leslie; (ii) any CIRCOR

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Related Parties; (iii) any Watts Related Parties; and (iv) any current or former Representative of
any of the above, in their capacities as such.

52. Books and Records. The Asbestos Records Cooperation Agreement shall
become effective on the Effective Date, and the Asbestos Records shall be treated in accordance
therewith.

53. Injunction. Notwithstanding any other provision of the Plan or the Confirmation
Order that might be construed to be to the contrary, the Asbestos Pl Trust is hereby prohibited
and permanently enjoined from seeking to recover (on its own behalf or on behalf of its
beneficiaries) from any Settling lnsurer any insurance coverage provided by the Settling Insurer
that has been released by the Debtor pursuant to a settlement agreement, including the
settlement agreements listed in Exhibit F to the Plan.

RESOLUTION OF OBJECTIONS

54. Paragraphs 55-59 contain language requested by parties that asserted formal or
informal objections to the Plan.

55. Department of Justice. Nothing in the Confirmation Order or the Plan
discharges, releases, or precludes any claim, liability, or cause of action of a governmental unit,
or divests any court, commission, or tribunal of jurisdiction over any liabilities asserted by a
governmental unit, including jurisdiction to determine whether such liabilities are barred by the
Confirmation Order, the Plan, or the Bankruptcy Code. Notwithstanding any other provision in
the Confirmation Order or the Plan, governmental units may pursue police and regulatory
actions or proceedings with respect to the Released Parties in the manner, and by the
administrative or judicial tribunals, in which the governmental units could have pursued such

actions or proceedings if the Chapter l 1 Case had never been commenced

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56. Pension Benefit Guaranty Corporation. No provision contained in the Plan, the
Confirmation Order, or section l 141 of the Bankruptcy Code, shall be construed as discharging
releasing or relieving any party, in any capacity, from any liability with respect to the Pension
Plan under any law, government policy or regulatory provision. PBGC and the Pension Plan
shall not be enjoined or precluded from enforcing such liability against any party as a result of
the Plan’s provisions for satisfaction, release and discharge of claims.

57. United States Department of Defense. Notwithstanding any provision in the
Plan, the Confirmation Order and any implementing Plan documents, including but not limited
to notices of assumption and assignment of executory contracts (collectively, “Documents”),
any licenses, leases, authorizations, contracts, agreements or other interests of the federal
government (collectively “federal interests”) shall be treated determined and administered in
the ordinary course of business as if the debtor’s bankruptcy case was never filed and the debtor
and Reorganized Leslie shall comply with all applicable non-bankruptcy law, federal regulations
and statutes. Moreover, without limiting the foregoing, nothing in the Documents shall be
interpreted to set cure amounts or to require the government to novate or otherwise consent to
the transfer of any federal interests. The government shall not be required to file any pre-
petition or post-petition claims with respect to the federal interests in the bankruptcy case, The
government’s rights to offset or recoup any amounts due under, or relating to, any federal
interests are expressly preserved

58. State of Michigan Department of Treasury. Nothing in the Plan will limit or
enjoin the collection of tax debts due to the Michigan Department of Treasury from non-debtors.
The Debtor or Reorganized Leslie, as applicable, will pay any Allowed Priority Tax Claim of

the Michigan Department of Treasury within 30 (thirty) days subsequent to the date any such

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priority tax claim becomes an Allowed Claim (as defined in the Plan), including accrued interest
at the rate of 4.25% annually from the Effective Date until the payment is made. Upon the
failure of the Debtor or Reorganized Leslie, as applicable, to make any payments due to the
Michigan Department of Treasury on account of any Allowed Priority Tax Claim that is not
cured within 30 days of a written notice of default, the Michigan Department of Treasury may
exercise all rights and remedies available under non-bankruptcy laws for the collection of its
entire claim and/or seek appropriate relief in this Court.

59. Estate of Richard Merrill. Nothing in this Confirmation Order, the Plan, or the
Plan Documents shall (l) prevent the Estate of Richard Merrill from litigating to conclusion its
lawsuit against Leslie Controls, lnc., currently pending as Case No. S187957 in the Califomia
Supreme Court, or (2) impact any applicable state law or contract rights that the Estate of
Richard Merrill may have pursuant to the supersedeas bond otherwise known as an
“Undertaking Under Section 917.1 C.C.P.” (the “Undertaking”) as filed with the Los Angeles
Superior Court in on August 24, 2007 in Case No. BC352170; provided for the avoidance of
doubt, that if the Estate of Richard Merrill obtains a final, enforceable judgment against Leslie
Controls, lnc., such judgment may be enforced only as against such Undertaking and not against
any Asbestos Protected Party. However, if such Undertaking is not sufficient to satisfy such
final enforceable judgment, or such Undertaking is determined to have lapsed or to be
unenforceable for any reason, then such final enforceable judgment may be enforced against the
Asbestos Pl Trust as a Class 4, Asbestos Pl Claim in the full unsatisfied amount of such final
enforceable judgment, subject to the Payment Percentage set forth in the Asbestos Pl Trust
Distribution Procedures Any Claims, Demands, or allegations against Leslie Controls, lnc., or

CIRCOR lnternational, lnc., relating to such Undertaking, whether sounding in tort, or under

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contract, or implied by law, warranty, guarantee, contribution, joint and several liability,
subrogation, reimbursement, or indemnity, or any other theory of law, equity, or admiralty, shall
be an Indirect Asbestos PI Claim and channeled exclusively to and assumed by the Asbestos Pl
Trust in accordance with, and to the extent set forth in, the applicable Plan Documents. 'l`he
defense of the pending lawsuit by the Estate of Richard Merrill against Leslie Controls, Inc.
shall be directed and paid for by Reorganized Leslie, provided that the Asbestos Pl Trust shall
have the ri ght, at its own expense, to reasonably consult with counsel retained by Reorganized
Leslie to defend the lawsuit.

MISCELLANEOUS

60. Nonoccurrence of Effective Date. ln the event that Leslie determines it is
appropriate, after consultation with and consent by CIRCOR, the Future Claimants’
Representative and the Committee, prior to the Effective Date, upon notification submitted by
Leslie to the Bankruptcy Court: (A) the Confirmation Order shall be vacated; (B) no
Distributions under the Plan shall be made; and (C) Leslie and all holders of Claims against and
Equity Interests in Leslie shall be restored to the status quo ante as of the day immediately
preceding the Confirmation Date as though the Confirmation Date never occurred lf the
Confirmation Order is vacated pursuant to Section 12.5 of the Plan, nothing contained in the
Plan shall: (A) constitute or be deemed a waiver or release of any Claims or Equity Interests by,
against, or in Leslie or any other Entity; or (B) prejudice in any manner the rights of Leslie or
any other Entity in the Chapter 1 1 Case or any other or further proceedings involving Leslie.

61. Modification of Confirmation Order Without Consent. Pursuant to section
524(g)(i)(A) of the Bankruptcy Code, the District Court must affirm the Asbestos Pl Channeling

Injunction as a condition precedent to the Effective Date of the Plan. ln the event that the

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District Court modifies the Plan or this Confirmation Order without the consent of CIRCOR or
the Debtor, CIRCOR or the Debtor shall have the opportunity to withdraw its support for the
Plan, and upon notification submitted by CIRCOR or the Debtor to the Bankruptcy Court: (A)
this Confirmation Order shall be vacated; (B) no Distributions under the Plan shall be made; and
(C) the Debtor, all holders of Claims against and Equity Interests in the Debtor, and Asbestos
Insurance Entities shall be restored to the status quo ante as of the day immediately prior to the
commencement of the Confirmation Hearing as though the Confirmation Hearing never
occurred; provided that, nothing contained in the Plan shall: (A) constitute or be deemed a
waiver or release of any Claims or Equity Interests by, against, or in the Debtor or any other
Entity; or (B) prejudice in any manner the rights of the Debtor or any other Entity in the Chapter
1 1 Case or any other or further proceedings involving the Debtor.

62. Notice of Entry of Confirmation Order and Effective Date. The Debtor and its
authorized agent shall serve notice of entry of this Confirmation Order, substantially in the form
annexed hereto as Exhibit A, which form is hereby approved on all creditors of the Debtor as of
the date hereof, and other parties in interest, within five (5) business days of the Effective Date,

63. Authorization to File Conformed Plan. The Debtor is authorized to file a
conformed Plan, dated on the date hereof, that incorporates the amendments to the Plan within
thirty (30) days of the entry of this Confirmation Order.

64. Applicable Non-Bankruptcv Law. Pursuant to sections l 123(a) and l 142(a) of
the Bankruptcy Code and the provisions of this Confirmation Order, the Plan, the Plan
Supplement, and the Plan Documents shall apply and be enforceable notwithstanding any

otherwise applicable nonbankruptcy law.

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65. Final Order. This Confirmation Order shall become a final order in accordance
with Section 1.81 ofthe Plan.

66. Severability. Each term and provision of the Plan, as it may have been altered or
interpreted by the Bankruptcy Court in accordance with Section 14.10 of the Plan, is valid and
enforceable pursuant to its terms.

67. Conflicts between Order and Plan. To the extent of any inconsistency between

 

the provisions of the Plan and this Confirmation Order, the terms and conditions contained in
this Confirmation Order shall govem. The provisions of this Confirmation Order are integrated
with each other and are nonseverable and mutually dependent unless expressly stated by further
order of this Court.

68. Superseder of Confirmation Order. This Confirmation Order shall supersede any
Bankruptcy Court orders issued prior to the Confirmation Date that may be inconsistent with

this Confirmation Order.

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STANDING OF INSURERS

69. After due deliberation and for the reasons set forth on the record at the hearing
held on October 26, 2010, the Motion to Strike is granted in its entirety. The Plan, with the
insurance neutrality language approved by this Court in paragraph 26 herein, is insurance
neutral. Accordingly, the Insurers do not have standing to be heard on any issues relating to
confirmation of the Plan, including the Insurers’ Objections, and, as a result, the Court has not
considered the Insurers’ Objections.

MOTIONS IN LIMINE

70. The Motions in Limine are denied as moot.

REPORT AND RECOMMENDATION TO THE DISTRICT COURT

71. To the extent required under 28 U.S.C. § 157(d), this Court hereby reports to the
District Court and recommends that the District Court enter an order issuing and affirming the
Asbestos Pl Channeling lnjunction set forth in the Plan and paragraph 39 (Asbestos PI
Channeling lnjunction) of this Confirmation Order and adopting the findings of fact and
conclusions of law found in Section U (Plan Compliance with Requirements of Section 524(g))

of this Confirmation Order pursuant to section 524(g)(3) of this Bankruptcy Code.

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The H§r{orab @Christopher S. Sontchi
United States -ankruptcy Judge

narod; october _Z§, 2010
Wilmington, Delaware

      
  

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